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   7   Chemical Co., Inc., dba C.C.I.
   8
                            UNITED STATES DISTRICT COURT
   9
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
  10

  11   CHEROKEE CHEMICAL CO., INC., dba             Case No. 2:20-cv-01757-MWF(ASx)
       C.C.I. a California corporation,
  12
                   Plaintiff,
  13                                                PROTECTIVE ORDER
                   ,
  14
            vs.
  15
     SCOTT FRAZIER, an individual; AQUA
  16 NANO, LLC, an unknown corporation; and
     ATLANTIC COAST POLYMERS, INC, a
  17 Connecticut corporation, and DOES 1
     through 100, inclusive,
  18
                   Defendants.
  19

  20

  21

  22   I.   PURPOSE AND LIMITATIONS
  23        Discovery in this action is likely to involve production of confidential,

  24   proprietary, or private information for which special protection from public

  25 disclosure and from use for any purpose other than prosecuting this litigation may be

  26 warranted. Accordingly, the parties hereby stipulate to and petition the Court to enter

  27 the following Stipulated Protective Order. The parties acknowledge that this Order

  28 does not confer blanket protections on all disclosures or responses to discovery and

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   1   that the protection it affords from public disclosure and use extends only to the
   2   limited information or items that are entitled to confidential treatment under the
   3   applicable legal principles. The parties further acknowledge, as set forth in Section
   4 12.3, below, that this Stipulated Protective Order does not entitle them to file

   5 confidential information under seal; Civil Local Rule 79-5 sets forth the procedures

   6   that must be followed and the standards that will be applied when a party seeks
   7   permission from the court to file material under seal.
   8   II.   GOOD CAUSE
   9         This action is likely to involve trade secrets, customer and pricing lists and
  10   other valuable research, development, commercial, financial, technical and/or
  11   proprietary information for which special protection from public disclosure and from
  12   use for any purpose other than prosecution of this action is warranted.                Such
  13   confidential and proprietary materials and information consist of, among other things,
  14   confidential business or financial information, information regarding confidential
  15   business practices, or other confidential research, development, or information
  16   (including information implicating privacy rights of third parties), information
  17   otherwise generally unavailable to the public, or which may be privileged or otherwise
  18 protected from disclosure under state or federal statutes, court rules, case decisions,

  19   or common law. Accordingly, to expedite the flow of information, to facilitate the
  20 prompt resolution of disputes over confidentiality of discovery materials, to

  21   adequately protect information the parties are entitled to keep confidential, to ensure
  22   that the parties are permitted reasonable necessary uses of such material in preparation
  23   for and in the conduct of trial, to address their handling at the end of the litigation, and
  24   serve the ends of justice, a protective order for such information is justified in this
  25   matter. It is the intent of the parties that information will not be designated as
  26   confidential for tactical reasons and that nothing be so designated without a good
  27   faith belief that it has been maintained in a confidential, non-public manner, and there
  28 is good cause why it should not be part of the public record of this case.

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   1   III.         DEFINITIONS
   2
              2.1   Action: this pending lawsuit entitled Cherokee Chemical Co., Inc., dba
   3
       C.C.I. v. Scott Frazier, et al, Case No. 2:20-cv-01757-MWF-AS
   4
              2.2   Challenging Party: a Party or Non-Party that challenges the designation of
   5
       information or items under this Order.
   6
              2.3   “CONFIDENTIAL” Information or Items: information (regardless of
   7
       how it is generated, stored or maintained) or tangible things that qualify for protection
   8
       under Federal Rule of Civil Procedure 26(c), and as specified above in the Good
   9
       Cause Statement.
  10

  11          2.4   Counsel: Outside Counsel of Record and House Counsel (as well as their
  12   support staff).
  13
              2.5   Designating Party: a Party or Non-Party that designates information or
  14
       items that it produces in disclosures or in responses to discovery as
  15
       CONFIDENTIAL.”
  16
              2.6   Disclosure or Discovery Material: all items or information, regardless of
  17
       the medium or manner in which it is generated, stored, o or maintained (including,
  18
       among other things, testimony, transcripts and tangible things), that are produced
  19
       or generated in disclosures or responses to discovery in this matter.
  20
              2.7   Expert: a person with specialized knowledge or experience in a matter
  21
       pertinent to the litigation who has been retained by a Party or its counsel to serve as
  22
       an expert witness or as a consultant in this Action.
  23

  24          2.8   House Counsel: attorneys who are employees of a party to this Action.
  25   House Counsel does not include Outside Counsel of Record or any other outside
  26 counsel.

  27          2.9   Non-Party: any natural person, partnership, corporation, association, or
  28   other legal entity not named as a Party to this action.

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   1         2.10 Outside Counsel of Record: attorneys who are not employees of a
   2   party to this Action but are retained to represent or advise a party to this Action and
   3 have appeared in this Action on behalf of that party or are affiliated with a law firm

   4   which has appeared on behalf of that party, and includes support staff.
   5
             2.11 Party: any party to this Action, including all of its officers, directors,
   6
       employees, consultants, retained experts, and Outside Counsel of Record (and their
   7
       support staffs).
   8

   9         2.12 Producing Party: a Party or Non-Party that produces Disclosure or
  10   Discovery Material in this Action.
  11         2.13 Professional Vendors: persons or entities that provide litigation support
  12   services (e.g., photocopying, videotaping, translating, preparing exhibits or
  13   demonstrations, and organizing, storing, or retrieving data in any form or medium)
  14   and their employees and subcontractors.
  15
             2.14 Protected Material: any Disclosure or Discovery Material that is
  16
       designated as “CONFIDENTIAL.”
  17

  18         2.15 Receiving Party: a Party that receives Disclosure or Discovery Material

  19   from a Producing Party.

  20 IV.     SCOPE

  21         The protections conferred by this Stipulation and Order cover not only Protected

  22 Material (as defined above), but also (1) any information copied or extracted from

  23 Protected Material;(2) all copies, excerpts, summaries, or compilations of Protected

  24 Material; and (3) any testimony, conversations, or presentations by Parties or their

  25 Counsel that might reveal Protected Material. Any use of Protected Material at trial

  26 shall be governed by the orders of the trial judge. This Order does not govern the use

  27 of Protected Material at trial.

  28 / / /

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   1   V.    DISPOSITION
   2         Even after final disposition of this litigation, the confidentiality obligations
   3   imposed by this Order shall remain in effect until a Designating Party agrees otherwise
   4   in writing or a court order otherwise directs. Final disposition shall be deemed to be the
   5 later of (1) dismissal of all claims and defenses in this Action, with or without prejudice;

   6 and (2) final judgment herein after the completion and exhaustion of all appeals,

   7 rehearings, remands, trials, or reviews of this Action, including the time limits for

   8 filing any motions or applications for extension of time pursuant to applicable law.

   9 VI.     DESIGNATING PROTECTED MATERIAL
  10         5.1    Exercise of Restraint and Care in Designating Material for Protection.
  11   Each Party or Non-Party that designates information or items for protection under
  12   this Order must take care to limit any such designation to specific material that
  13   qualifies under the appropriate standards. The Designating Party must designate for
  14   protection only those parts of material, documents, items, or oral or written
  15   communications that qualify so that other portions of the material, documents items, or
  16 communications for which protection is not warranted are not swept unjustifiably

  17 within the ambit of this Order Mass, indiscriminate, or routinized designations are

  18 prohibited. Designations that are shown to be clearly unjustified or that have been

  19   made for an improper purpose (e.g., to unnecessarily encumber the case development
  20 process or to impose unnecessary expenses and burdens on other parties) may expose

  21   the Designating Party to sanctions. If it comes to a Designating Party’s attention that
  22   information or items that it designated for protection do not qualify for protection, that
  23   Designating Party must promptly notify all other Parties that it is withdrawing the
  24   inapplicable designation.
  25         5.2    Manner and Timing of Designations. Except as otherwise provided in this
  26
       Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or
  27
       ordered, Disclosure or Discovery Material that qualifies for protection under
  28
       this Order must be clearly so designated before the material is disclosed or produced.
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   1         Designation in conformity with this Order requires:
   2
                    (a) for information in documentary form (e.g., paper or electronic
   3
                   documents, but        excluding       transcripts of    depositions or
   4
                    other pretrial       or   trial proceedings), that the Producing Party
   5
                   affix at a minimum, the legend “CONFIDENTIAL” (hereinafter
   6
                   “CONFIDENTIAL legend”), to each page that contains protected
   7
                   material. If only a portion or portions of the material on a page qualifies
   8
                   for protection, the Producing Party also must clearly identify the
   9
                   protected portion(s) (e.g., by making appropriate markings in the
  10
                   margins).
  11
             A Party or Non-Party that makes original documents available for inspection
  12
       need not designate them for protection until after the inspecting Party has indicated
  13
       which documents it would like copied and produced. During the inspection and
  14

  15   before the designation, all of the material made available for inspection shall be
  16   deemed “CONFIDENTIAL.” After the inspecting Party has identified the documents
  17   it wants copied and produced, the Producing Party must determine which documents,
  18   or portions thereof, qualify for protection under this Order. Then, before producing the
  19   specified documents, the Producing Party must affix the “CONFIDENTIAL legend”
  20   to each page that contains Protected Material. If only a portion or portions of the
  21   material on a page qualifies for protection, the Producing Party also must clearly
  22   identify the protected portion(s) (e.g., by making appropriate markings in the margins).
  23   (b) for testimony given in depositions that the Designating Party identify the
  24   Disclosure or Discovery Material on the record, before the close of the deposition all
  25   protected testimony. (c) for information produced in some form other than
  26   documentary and for any other tangible items, that the Producing Party affix in a
  27   prominent place on the exterior of the container or containers in which the information
  28   is stored the legend “CONFIDENTIAL.” If only a portion or portions of the
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   1   information warrants protection, the Producing Party, to the extent practicable, shall
   2   identify the protected portions
   3         5.3    Inadvertent Failures to Designate. If timely corrected, an inadvertent
   4   failure to designate qualified information or items does not, standing alone, waive
   5   the Designating Party’s right to secure protection under this Order for such material.
   6   Upon timely correction of a designation, the Receiving Party must make reasonable
   7   efforts to assure that the material is treated in accordance with the provisions of this
   8   Order.
   9   VII. CHALLENGING CONFIDENTIALITY DESIGNATIONS
  10         6.1    Timing of Challenges. Any Party or Non-Party may challenge a
  11   designation of confidentiality at any time that is consistent with the Court’s
  12 Scheduling Order. The failure to challenge a designation of confidentiality shall not act

  13 as or be construed as an admission by any Party or Non-Party that the material or

  14   information designated as confidential is a legally recognizable “trade secret”.
  15
             6.2    Meet and Confer. The Challenging Party shall initiate the informal
  16
       dispute resolution process set forth in the Court's Procedures and Schedules. See
  17
       http://www.cacd.uscourts.gov/honorable-alka-sagar
  18
             6.3    The burden of persuasion in any such challenge proceeding shall be on
  19
       the Designating Party. Frivolous challenges, and those made for an improper purpose
  20
       (e.g., to harass or impose unnecessary expenses and burdens on other parties)
  21
       may expose the Challenging Party to sanctions. Unless the Designating Party has
  22
       waived or withdrawn the confidentiality designation, all parties shall continue to
  23
       afford the material in question the level of protection to which it is entitled under
  24
       the Producing Party’s designation until the Court rules on the challenge.
  25
       ///
  26
       ///
  27
       ///
  28

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   1   VII. ACCESS TO AND USE OF PROTECTED MATERIAL
   2         7.1    Basic Principles. A Receiving Party may use Protected Material that
   3   is disclosed or produced by another Party or by a Non-Party in connection with
   4 this Action only for prosecuting, defending, or attempting to settle this Action. Such

   5 Protected Material may be disclosed only to the categories of persons andunder the

   6   conditions described in this Order. When the Action has been terminated, a Receiving
   7   Party must comply with the provisions of section 1 3 below (FINAL DISPOSITION).
   8         Protected Material must be stored and maintained by a Receiving Party
   9   at a location and in a secure manner that ensures that access is limited to the persons
  10   authorized under this Order.
  11               A.     Disclosure of “CONFIDENTIAL” Information or Items. Unless
  12   otherwise ordered by the court or permitted in writing by the Designating Party, a
  13   Receiving Party may disclose any information or item designated
  14   “CONFIDENTIAL” only to:
  15
                   (a) the Receiving Party’s Outside Counsel of Record in this Action, as well
  16
                   as employees of said Outside Counsel of Record to whom it is reasonably
  17
                   necessary to disclose the information for this Action;
  18

  19               (b) the officers, directors, and employees (including House Counsel) of
  20               the Receiving Party to whom disclosure is reasonably necessary for this
  21               Action;
  22               (c) Experts (as defined in this Order) of the Receiving Party to whom
  23               disclosure is reasonably necessary for this Action and who have signed
  24               the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  25               (d) the court and its personnel;
  26               (e) court reporters and their staff;
  27                (f) professional jury or trial consultants, mock jurors, and Professional
  28               Vendors to whom disclosure is reasonably necessary for this Action and
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   1             who have signed the “Acknowledgment and Agreement to Be Bound
   2             (Exhibit A)
   3             (g) the author or recipient of a document containing the information or a
   4             custodian or other person who otherwise possessed or knew the
   5             information;
   6             (h) during their depositions, witnesses, and attorneys for witnesses, in the
   7             Action to whom disclosure is reasonably necessary provided: (1) the
   8             deposing party request that the witness sign the form attached as Exhibit
   9             A hereto; and (2) they will not be permitted to keep any confidential
  10             information unless they sign the “Acknowledgment and Agreement to Be
  11             Bound” (Exhibit A), unless otherwise agreed by the Designating Party or
  12             ordered by this court. Pages of transcribed deposition testimony or
  13             exhibits to depositions that reveal Protected Material may be separately
  14             bound the court reporters and may not be disclosed to anyone except as
  15             permitted under this Stipulated Protective Order; and (i) any mediator or
  16             settlement officer, and their supporting personnel, mutually agreed upon
  17             by any of the parties engaged in settlement discussion.
  18
       ///
  19
       ///
  20

  21 / / /

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       ///
  23
       ///
  24

  25 / / /

  26 / / /

  27
       ///
  28

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   1   VIII. PROTECTED MATERIAL SUBPOENAED OR ORDERED
   2         PRODUCED IN OTHER LITIGATION
   3         If a Party is served with a subpoena or a court order issued in other litigation
   4 that compels disclosure of any information or items designated in this Action a

   5 “CONFIDENTIAL,” that Party must:

   6                (a) promptly notify in writing the Designating Party. Such notification
   7                shall include a copy of the subpoena or court order;
   8                (b) promptly notify in writing the party who caused the subpoena or order
   9                to issue in the other litigation that some or all of the material covered by
  10                the subpoena or order is subject to this Protective Order. Such notification
  11                shall include a copy of this Stipulated Protective Order, and;
  12                (c) cooperate with respect to all reasonable procedures sought to be
  13                pursued by the Designating Party whose Protected Material may be
  14                affected. If the Designating Party timely seeks a protective order, the
  15                Party served with the subpoena or court order shall not produce any
  16                information designated in this action as “CONFIDENTIAL” before a
  17                determination by the court from which the subpoena or order issued, unless
  18                the Party has obtained the Designating Party’s permission.
  19
             The Designating Party shall bear the burden and expense of seeking protection
  20
       in that court of its confidential material and nothing in these provisions should be
  21
       construed as authorizing or encouraging a Receiving Party in this Action to disobey a
  22
       lawful directive from another court.
  23
       X.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
  24
             If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
  25
       Protected Material to any person or in any circumstance not authorized under this
  26
       Stipulated Protective Order, the Receiving Party must immediately (a) notify in
  27
       writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
  28
       to retrieve all unauthorized copies of the Protected Material, (c) inform the person
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   1   or persons to whom unauthorized disclosures were made of all the terms of this
   2   Order, and (d) request such person or persons to execute the “Acknowledgment and
   3   Agreement to Be Bound” that is attached hereto as Exhibit A.
   4   X.   NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
   5        PRODUCED IN LITIGATION
   6               (a) The terms of this Order are applicable to information produced by a
   7               Non-Party in this Action and designated as “CONFIDENTIAL.” Such
   8               information produced by Non-Parties in connection with this litigation is
   9               protected by the remedies and relief provided by this Order. Nothing in
  10               these provisions should be construed as prohibiting a Non-Party from
  11               seeking additional protections.
  12               (b) In the event that a Party is required, by a valid discovery request,
  13               to produce a Non-Party’s confidential information in its possession, and
  14               the Party is subject to an agreement with the Non-Party not to produce
  15               the Non-Party’s confidential information, then the Party shall:
  16                       (1) promptly notify in writing the Requesting Party and the
  17                       Non-Party that some or all of the information requested is subject
  18                       to a confidentiality agreement with a Non-Party;
  19                       (2) promptly provide the Non-Party with a copy of the Stipulated
  20                       Protective Order in this Action, the relevant discovery request(s),
  21                       and a reasonably specific description of the information
  22                       requested; and
  23                       (3) make the information requested available for inspection by
  24                       the Non-Party, if requested.
  25               (c) If the Non-Party fails to seek a protective order from this court within
  26               14 days of receiving the notice and accompanying information, the
  27               Receiving Party may produce the Non-Party’s confidential information
  28               responsive to the discovery request. If the Non-Party timely seeks a
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   1                protective order, the Receiving Party shall not produce any information
   2                in its possession or control that is subject to the confidentiality
   3                agreement with the Non-Party before a determination by the court.
   4                Absent a court order to the contrary, the Non-Party shall bear the burden
   5                and expense of seeking protection in this court of its Protected Material.
   6                If a Receiving Party learns that, by inadvertence or otherwise, it has
   7                disclosed Protected Material to any person or in any circumstance not
   8                authorized under this Stipulated Protective Order, the Receiving Party
   9                must immediately (a) notify in writing the Designating Party of the
  10                unauthorized disclosures, (b) use its best efforts to retrieve all
  11                unauthorized copies of the Protected Material, (c) inform the person or
  12                persons to whom unauthorized disclosures were made of all the terms
  13                of this Order, and (d) request such person or persons to execute the
  14                “Acknowledgment and “Agreement to Be Bound” that is attached hereto
  15                as Exhibit A.
  16   XI.   PROTECTED MATERIAL
  17         When a Producing Party gives notice to Receiving Parties that certain
  18 inadvertently produced material is subject to a claim of privilege or other protection,

  19   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
  20   Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
  21   may be established in an e-discovery order that provides for production without prior
  22   privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
  23   parties reach an agreement on the effect of disclosure of a communication or
  24   information covered by the attorney-client privilege or work product protection, the
  25   parties may incorporate their agreement in the stipulated protective order submitted to
  26   the court.
  27   ///
  28   ///
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   1   XII. MISCELLANEOUS
   2         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
   3 person to seek its modification by the Court in the future.

   4         12.2 Right to Assert Other Objections. By stipulating to the entry of this
   5 Protective Order no Party waives any right it otherwise would have to object to

   6 disclosing or producing any information or item on any ground not addressed in this

   7 Stipulated Protective Order. Similarly, no Party waives any right to object on any

   8 ground to use in evidence of any of the material covered by this Protective Order.

   9         12.3 Filing Protected Material. A Party that seeks to file under seal any
  10   Protected Material must comply with Civil Local Rule 79-5. Protected Material may
  11   only be filed under seal pursuant to a court order authorizing the sealing of the
  12 specific Protected Material at issue. If a Party's request to file Protected Material under

  13   seal is denied by the court, then the Receiving Party may file the information in the
  14 public record unless otherwise instructed by the court.

  15 XIV. FINAL DISPOSITION

  16         After the final disposition of this Action, as defined in paragraph 4, within 60
  17 days of a written request by the Designating Party, each Receiving Party must return all

  18 Protected Material to the Producing Party or destroy such material. As used in this

  19 subdivision, “all Protected Material” includes all copies, abstracts, compilations,

  20 summaries, and any other format reproducing or capturing any of the Protected

  21 Material. Whether the Protected Material is returned or destroyed, the Receiving

  22 Party must submit a written certification to the Producing Party (and, if not the same

  23 person or entity, to the Designating Party) by the 60 day deadline that (1) identifies

  24 (by category, where appropriate) all the Protected Material that was returned or

  25 destroyed and (2)affirms that the Receiving Party has not retained any copies,

  26 abstracts, compilations, summaries or any other format reproducing or capturing any of

  27 the Protected Material. Notwithstanding this provision, Counsel are entitled to retain

  28 an archival copy of all pleadings, motion papers, trial, deposition, and hearing

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   1   transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
   2 reports, attorney work product, and consultant and expert work product, even if such

   3   materials contain Protected Material. Any such archival copies that contain or
   4   constitute Protected Material remains subject to this Protective Order as set forth in
   5   Section IV.
   6         All parties who divulge any information to anyone throughout the course of
   7 litigating the underlying claim will have sixty (60) days from the date of conclusion

   8 of this matter by either trial or settlement. If by trial, the 60 days after judgment is

   9 entered with the Court.

  10         Any violation of this Order may be punished by any and all appropriate measures
  11 including, without limitation, contempt proceedings and/or monetary sanctions. The

  12 Parties hereby electronically sign this Stipulation pursuant to Local Rule 5-4.3.4(2)(i).

  13 IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

  14

  15 DATED: December 24, 2020                         SCHELL NUELLE LLP
  16

  17                                                  /s/ John Nuelle
                                                      Troy Schell
  18                                                  John Nuelle
  19                                                  Attorney for Plaintiff, Cherokee
                                                      Chemical Co., Inc., dba C.C.I.
  20
       DATED:        December 18, 2020                WCH LAW GROUP, P.C.
  21

  22                                                  /s/ William C. Hoggard
  23                                                  William C. Hoggard
                                                      Ravi Sudan
  24                                                  Attorney for Defendant, Atlantic
  25                                                  Coast Polymers

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   1   DATED:     December 24, 2020              THE KNEAFSEY FIRM, INC.
   2

   3                                             /s/ Sean M. Kneafsey
                                                 Sean M. Kneafsey
   4                                             Attorney for Defendants,             Scott
   5                                             Frazier and Aqua Nano, LLC

   6

   7

   8 FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.

   9
              December 29, 2020
       DATED:___________________                 ___________________________
                                                          / s/ Sagar
  10                                             Honorable Alka Sagar
  11                                             United States Magistrate Judge
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   1                           EXHIBIT A
   2            ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

   3
       I,   _________________________,            [Print     Full      Legal       Name],       of

   4
       ____________________ [Print full address], of ______________ County [Insert

   5
       County information ], declare under the penalty of perjury that I have in its entirety

   6
       and understand the Stipulated Protective Order that was issued by the United States

   7
       District Court for the Central District of California on _________ [insert date] in the

   8
       case Cherokee Chemical Co., Inc., dba C.C.I. v. Scott Frazier, et al., Case No. 2:20-

   9
       cv-01757-MWF-AS. I agree to comply with and to be bound by all the terms of this

  10
       Stipulated Protective Order and I understand and acknowledge that failure to so

  11
       comply could expose me to sanctions and punishment in the nature of contempt. I

  12
       solemnly promise that I will not disclose in any manner any information or item that

  13
       is subject to this Stipulated Protective Order to any person or entity except with strict

  14
       compliance with the provisions of this Order.

  15
             I further agree to submit to the jurisdiction of the United States District Court

  16
       for the Central District of California for the purpose of enforcing the terms of this

  17
       Stipulated Protective Order, even if such enforcement proceedings occur after

  18
       termination of this action. I hereby appoint _______________________ [print full

  19
       legal name] of _______________________ [print full address and phone number]

  20
       ________[print county information] as my California agent of process in connection

  21
       with this action or any proceedings related to enforcement of this Stipulated Protective

  22
       Order.

  23
       Date:_________________________

  24
       City and State where sworn and signed:______________________

  25
       Printed Name:_______________________________

  26
       Signature:________________________________

  27

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                                                  16                Case No.: 2:20-cv-01757-MWF-AS
                                   STIPULATED PROTECTIVE ORDER
